Case 2:20-cv-11181-CAS-JPR Document 19 Filed 02/22/21 Page 1 of 2 Page ID #:178

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  NEMAN BROTHERS AND ASSOC., INC.                                    2:20−cv−11181−CAS−JPR
                                                   Plaintiff(s),

           v.
  INTERFOCUS, INC., et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         2/19/2021
  Document Number(s):                 18
  Title of Document(s): COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC.
  FOR BREACH OF CONTRACT AGAINST NEMAN BROTHERS & ASSOCIATES,
  INC
  ERROR(S) WITH DOCUMENT:

  Please include all case captions on all documents filed with the Court. i.e., Complaint; Counterclaim, etc.




  Other:

  No further shall be taken until the filing of subsequent documents.
  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                             Clerk, U.S. District Court

  Dated: February 22, 2021                                   By: /s/ Sharon Hall−Brown 213−894−3651
                                                                Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

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Case 2:20-cv-11181-CAS-JPR Document 19 Filed 02/22/21 Page 2 of 2 Page ID #:179
     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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